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 1                   DECLARATION OF AUSA VICTOR A. RODGERS
 2         I, Victor A. Rodgers, declare as follows:
 3         1.     I am one of the AUSAs representing defendants United States of America
 4   and Tracy L. Wilkison and Kristi Koons Johnson in their official capacity only
 5   (collectively, “the government”) in this action.
 6         2.     On July 14, 2021, I held a Local Rule 7-3 Conference of Counsel with
 7   plaintiff’s counsel Darryl Exum, Esq. regarding the government’s motion to dismiss.
 8   We were unable to resolve our differences.
 9         3.     Attached hereto as Exhibit A is a copy of the indictment against USPV.
10         4.     Attached hereto as Exhibit B a copy of the seizure warrant and one
11   paragraph of the warrant application.
12         I declare under penalty of perjury under the laws of the United States of America
13   that the foregoing is true and correct and that this declaration is executed at Los Angeles,
14   California, on July 21, 2021.
15                                                                /s/ ___________
                                                          AUSA VICTOR A. RODGERS
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